










NUMBERS 13-00-745-CR and 13-00-746-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI


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RODOLFO LOPEZ , Appellant,



v.




THE STATE OF TEXAS, Appellee.

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On appeal from the 138th District Court 

of Cameron County, Texas.


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O P I N I O N


Before Justices Dorsey, Rodriguez, and Castillo

Opinion Per Curiam




 Appellant, RODOLFO LOPEZ , perfected an appeal from judgments entered by the 138th District Court of Cameron
County, Texas,  in cause numbers 93-CR-576-B and 95-CR-285-B .  Appellant has filed motions to dismiss the appeals. 
The motions comply with Tex. R. App. P. 42.2(a).

 The Court, having considered the documents on file and appellant's motions to dismiss the appeals, is of the opinion that
appellant's motions to dismiss the appeals should be granted.  Appellant's motions to dismiss the appeals are granted, and
the appeals are hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 1st day of March, 2001 .


